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                             UNITED STATES DISTW CT COURT

                                              For The

                            SOUTHERNDISTRICTOFFLORIDA Cdt/dlvy'--                                t
                                                                                                 /#l Y *'           -
                                                                         CQSP#               $
                                                                                             '
                                         M iam iD ivision                Judge                   Mag
                                                                                                                -   -
                                                                         Motn Ifp '               Fee pd$   -

                                                                         Receipt#
   H ugo Pena and H P M aritim e Consultant       Case N o:
                                                            (tobefilledbytheClerk'sOm ce)
              Plaintiff
   VS.
                                                              Com plaint fora CivilCase
   United SOtesComstGuard Seventh District                    UnderCivilRightAct
   M inm i,Florida                                            Jury demanded

            Defendant1

   A nd                                                             FILED by           D.C,

   G & G M arine,lnc.                                                   AU0 2C 2218
   G & G Shipping,LLC
                                                                      sfevEt
                                                                           k M LAFqIMORE
   CoastalShipping H olding,Inc.                                      CLERK U s Dis' r c'r
                                                                       s o ofFDL.
                                                                                A - MI
                                                                                     AMI
             D efendant2

     PlintiffHugo Pena rtplaintiœ '),on behalfofhimselfand hisDBA company HP M aritime
  Consultnnt,bringsthiscomplaintforanew Civilcase,forFraud upon theCourt(caseNo:10-
  60158-cr-W PD1underRule60(b),lawsuitagainstDefendantUnited StatesComstGuard Seventh
  DistrictM inmi(ICUSCG''orttDefendant1'1,and G&G M arine,lnc.,G&G Shipping,LLC and
  CoastalShippingHoldinglnc.FG&G Corporation''ordr efendant25')fordepravationofrights
  and conspiracy to interfere with civilrights,resultin continued violation ofConstitutionalFederal
  Law and damagedtheintegrityofthePlaintiftlhisfamily andallegesthefollowing:
     Introduction

     1.-UnitedStatesCoastGuard(USCG)isanagencyofhomelandSecurityoftheUnitedStates
  and isthe principalFederalAgency responsible formaritim e safety,security,and environm ental
  stewardship in U .S.Portsand W aterways.

     2.-United StatesCustomsandBorderProtection(CBP)isthelargestfederallaw enforcement
  agency oftheUnited StatesDepartm entofHomeland Security.ltischarged with regulating and
  facilitating intem ationaltrade,also in issue tçvesselClearance and Entrance''indicatinz the
  llae carrier and tradine certm catesto the Portofany commercialvesselin U.S.Jurisdiction,
  collecting import duties, and enforcing U.S. Regulations, including lade, customs, and
  imm igration.CBP isoneofthelargestlaw enforcementagenciesin the United States.

                                                                                                       pi
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    3.- CoastalShipping Holding Ine.is a closely-held holding company and comstalmarine
  freightcompanytownM V IslandExpress1)withaprincipalplaceofbuslnessof1300EllerDrive,
  FortLauderdale,FL 33316.The M anaging M emberand own ofCoistalShipping areindividuals
  SteveR.GanoeCGanoe'')andM ichaelJ.GrandonicoCçGrandonico''l.
     4.-Ganoe and Grandonico also own and controla closely held coasGlm an'ne company name
  G & G M arine.Inc..G& G M arine's principalplace ofbusiness is also 1300 Eller Drive,Fort
  Lauderdale,FL 33316,G&G M arine,Inc overseesthe marine teclmicalmanagem entof several
  vessels,asttlsland Expressl''ordirectcargo m ovem entofthese vessels,including the deck and
  englne depm m ents ofvesselow ned by CoastalShipping H olding,lnc.

     5.-Ganoe and Grandonico also own and controlofclosely held coastalmarinecompany name
  G& G Shilm ine.Inc.,G& G Shipping'sprincipalplace ofbusinessisalso 1300 EllerDrive,Fort
  Lauderdale,Florida 33316.G&G Shipping oversee thevesselrecruitmentcrew 'smem berand act
  asthe agency forclearance/entranceoftheirvesselastilsland ExpressI''in U.S.Jurisdiction.

    6.- The M /V ççlsland Exoress r'(lsland Express) is one of vesselowned by Ganoe &
  Grandonico,(G&G Corporation)andisa155-footcargo shipwithaGrossRegisteredTonnageof
  422 GT constructed in Houma,Louisiana in United StatesunderRegulation and Cl% sifk ation of
  Am erican Btlreau ofShipping and USCG ApprovalofPollution Prevention Equipm entand the
  vesselFullyComjliedwith          OLAnnex1requirements,thevessel,it'sasitwasconstructed,
  shown it'smatenal,systemsand equipment'sinstalled satisfactory,a11and which makesregular
  calls to PortLau D ania,Florida in Broward Cotm ty.

    7.-Ata11relevanttimes,thelslandExpresswasequippedwithaBiljeBoy2.5GallonsPer
  Minute(ttggm'')OilWaterSeparator,manufacturedbyFleetguardFiltratlonSystems,UL listed
  mark and lt'san lntenlationalMaritimeOrganization (lM O)approved oi1pollution prevention
  equipm ent in com pliance w ith M ARPO L Annex 1 requirem ent. During the norm al cotlrse of
  operation ofa sllip,oi1and wateraccum ulate andm ix in theengine spacesofa ship.Thisoi1and
  waterm ix,itisknown as''bilge.''M ARPOL and APPS prohibitdischargesofbilgeinto theocean
  unlesstheem uenthasbeenpurifledtoanoi1contentoflessthan 15partspermillion(''ppm'').An
  O ilW aterSeparator,such asthe Bilge Boy,isthe principaltechnology used to lowerthepetroleum
  contentof oil- contam inated water to less than 15 ppm and m axim um throughput system is 2.5
  GPM (Gallonsperminutel.
    8.-Thistype of OilW aterSeparator has a USCG and lM O ApprovalCertificate as require
  ConstitutionalFederallaw 46 CFR 162.050.USCG ApprovalCertifkateNo:162.050/1133/0 a11
  thetimeplaceinIslandExpresswallofengineroom,(EXTRINSIC FRAUD).
    9.-TheIslandExpressisconsidered adry-boat(Landing Craft)andproduce1ow qllnntitiesof
  bilgewatermsshewasdesigned andhavesuftk ientcapacityto storeoily wateroriginated from its
  machinery in supporting M ARPOL AN NEX 1requirements,with aSludgeTnnk,morethan 2000
  gallonsto store and to be discharged in the nextportfacility asitwmsrequired by the law in 33
  CFR 151.25 (d)and shallbe accurate record in its Oi1Record Logbook,each operation with
  signatureofoY cerin charge,each pageshallbesigned by Captain when page iscomplete.


                                                                                                  /?
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     10.-TheUnited Sutesispartofan internationaltreatythatregulatesthedischargeofoily water
  from vesselsatsea:TheIntem ationalConvention forthe Preventlon ofPollution 9om Ships,as
  modiGedbytheProtocolof1978(''M ARPOL'').CongressimplementedM ARPOL in theUnited
  StatesthroughtheActto PreventPollutionfrom Ships(''APPS''),33U.S.C.jj 1901etseq.The
  United Statesisa party to M ARPOL and regulationspromulgated pttrslmntto APPS apply to a11
  com mercialvesselsoperating in United StateswatersoratUnited Statesports,including vessels
  operating undertheauthority ofa country otherthnn theUnited States.

     11.- On April 15*, 2010, lsland Express was carrying Registration by St Kitts & Nevis
  A dm inistration,w ith a11Full--
                                 ferm Trading Certificate included IOPP,M ARPOL Annex 1 issued
  by FSlOvid London on behalfoflnternationalRegisterofShipping,arecognized organization by
  St.Kitts& NevisAdministration.

     12.-On April271,2010,Island Expresswasin the process oftransferring Registration and
  Trading Certitkation to Panama Flag,a decision made by G& G Com oration and requested to
  U niversalShipping Bureau Inc.,a Recognized O rganization by Panam a M aritim e A uthority, in
  Ciudad Panama Head Om ce,and there were issued ProvisionalRegistratiow M anning & Radio
  License by Panama M aritim e Authority and then, Authorized and lnstructed the issue of
  ProvisionallntemationalTrading Certitkate,(> t11Deletion Certifkate 9om StKitts& Nevis
  Administration have been issued),included ProvisionalIOPP certifkate,MARPOL Annex 1,
  signedbyanominalsurveyorHujoPena(ThePlaintifflwithanew OilRecordLogbook(facilitate
  byConsulateofPanamainMiamll,providedin PortLauDania.
     13.- O n M ay 3,2010, G & G Corporation 1ay up the Island Express to attend the notice of
  recommendationissuedbyHugoPena(ThePlaintim inthe        OL SlzrveyReport(CRDE A)
  onbehalfofUniversalShlppingBureau,Le.thesurveyreportforpollutionyreventionbyoil,al1
  thetim eonboard untilthe notice ofrecomm endation hasbeen com plete,ChlefEngineerhad not
  fam iliarw ith installed O i1W ater Separatoroperation.

     14.-On M ay 4,2010,theUnited StatesCoastGuard conducted a PortState ControlAnnually
  Exam ination to the Island Expressatthe G & G Portin PortLau Daniw Florida and found two
  submersiblepumpsinthespaceofEngineRoom ,something thattheIsland Express'crew handle,
  and USCG detained the vesselin suspicion ofprovable oilpollution event.

     15.-The detk iency noticeby USCG Keith M acklin,on M ay 4th,2010 Form B,U SCG Report
  did not indicate any m alftmction of the Oi1W ater Separator as fmudulent constructed by the
  AssistantU .S.Attorney,itwasgaudulentpublished in pressrele% e by thisom ce and asitwas
  maliciously fabricatedand establishedintrialcourt.Thematerialfactin evidenceExG nsicFraud,
  (intentionalomissionUSCG Fonn B toframeupthePlaintiffl,USCG CW O M acklinhandwrote:
       df hiefEngineerfailed to testthe Oi1W aterSepnmtorbecause had notfam iliarwith
       theprocedtlreoftesting becauseofm issing theinstructionm anllnl''.

    16.-OnMay5tj 2010thelslandExpressChiefEngineerNorthonErasohadbeenkainedby
  FualifiedpersonnelinUnitedStatesjurisdictionasitshallbeandrequiredbyUnitedStatesLaw
  ln 46 CFR 110.15-160.
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      17.-On M ay 5th,2010 the ChiefEngineerEraso,testthe equipm entexactly msitwasin the
  starting procedlzre in the inskuction manual, filling both Gravity Separator and Coalescing
  Housings,and a11inletplumbing with water.Thefunctionaltestwassuccessful.ExtrinsicFraud,
  errorofomission,Recordtesting on M ay 5tb,2010,withholdby DefendantAttorney Jay W hite.

    18.-Plaintif (Panama Flag inspectorHugo Penw neitherhisDBA company HP M aritime
  Consultant)isnotG&G employee:heisnottheowner'slsland Express,neithermemberofits
  crew as AUSA Jaime Raich neghgently in complicity with G&G corporation framed up the
  Plaintiff,(intentionalomission offundamentalerror,new PanamaOi1Record Logbook and Oi1
  W aterSeparatorUSCG ApprovalCertifkate),inconspiracywith SpecialAgentCyregBishopon
  behalfofU SCG,and issued fraudulentcomplaintand indicton June 15t:.2010,againstHugo
  Pena and hisDBA Com pany in a fraudulentcrim inalCaseN o:10-60158 -CR -W PD togethers
  withcrew'smem beroflsland Express,Captain Ronald Ram on andChiefEngineerNorthonEraso
  withoutanyrelationshipwiththem,inobstructionofjustice,misleadingtherealissueofthecrime,
  bottom da -dockine exam ination becauseofseawaterleakage bythetail-shaftsealand thecrew
  negligent discharging back to the ocean, creating false crim es of strict liability for w hich
  responsibilityisimposedwithoutconsiderinjthescopeofauthorization/inspectioninstruction,
  violating conkactualagreem entwithRecogm zed Organizationby thePanamaM aritimeAuthority
  andknowingly thatInspectorHugoPesahadnot% en onboardon April15*,2010becauseG&G
  ow nerpostpone the transferring flag fornextcall.

     19.-Thisisa com plaintunderacivilrightactagainstG& G Corporation,intentionalcountedkit
  documentto obtain benefit,pursllxntto a Grand Jtlry Subpoena,planting constructed fraudulent
  duplicateIOPP Certificate (CRGE:451neverfound by any USCG offkerin lsland Expresson
  M ay 4*,2010, with doctored signatttreofPlaintiff(inspectorHugoPena)andalso hisUniversal
  ShigpingBtlreau Stampin aphotocopymachine,withthegravamenofcotmterfeitsimilardate
  Aprll15tlz,2010toconflicttheoriginalIOPP certificate (CRGE:Q foundby CW O USCG Keith
  M acklin on M ay 4*,2010,to create a conflictin the inform ation ofrecord ofequipm entFORM
  A,with intention to deceitatfpity Jurf',becauseG&G comoration installedanew differentOil
  WaterSeparator,arotmd June/luly 2010with alsoconcealed USCG AyprovalCertificateNo:
  162.050/9050/0foridentitkationin theFORM A,aftertheexisting O1lWaterSegaratorwas
  removed/desloyed with intention to deceit, also with USCG A pproval Certlncate No:
  162.050/1133/0 as it was fotmd by the USCG CW O Keith M acklin, when in fact, it was
  successfully tested and approved in theASllnspection Reportby Panam aM aritime Authority on
  M ay 11th, 2010(
                 ExtrinsicFraud)asper requiredinUSCG ReportFORM          A onMay46 2010.On
  August2010G& G com oration destroyed a11FullTerm sCertifkatesissued by UniversalShipping
  Blzreau Head Oftk e in Panama to game up the Panam aFlag SurveyorHugo Pena and hisDBA
  company (ThePlaintim ,remainingonlytheIntemationalTonnageCertificate(08/17/20101.
     20.-Thisisa complainttmdera civilrightactagainstU SCG forproducing false arresting to
  Panam a Flag Surveyoron Jtm e 101,2010 at06:00 a.m .,thettplaintiff''waskidnapped/arrested at
  hishouse by a team ofU.S.M arshallcomm anded by USCG SpecialAgentGreg Bishop without
  any warrant,withoutprobably causeand incarceratehim in Broward County,withcomplicity with
  G& G Corporation,bmsed on thatathe lsland Expressdidn'tcom plied with M ARPOL Annex 1
  requirem ent,knowingly by thelp thatthis vesselwmsconstructed in United Stateslmder Code
  FederalRegulations,defamed that,thePlaintil wason April15*,2010 inlsland Express(Case
                                                                                                   /7:9
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  No:10-6240-BarryS Seltzer),wheninfactandintrue,USCG SpecialAgenthadknowinglythat
  the ownerG& G corporation postpone the transferring St.Kitts& N eviskading Certitk ation to
  Panama on April27*,2010 to avoid an em ergency dry-dock bottom examination to perm anent
  stop the entrance ofseawaterby the outersealto the cofferdmn ofEngineRoom .On June 15*,
  2010thePlaintiffand hisDBA company were fraudulentindict.

    21.-ExtrinsicFraud,lntentionalerrorofOmissionwithintendtodeceitinobstructionofjustice:
  VesselClearance ofStatementby CustomsofBorderProtection(asUSCG.also an Aeenev of
  Homeland SecuritvoftheUnited States)indicatedthatM/V ddlslandExpress1''carriertheflag
  St.Kitts& N evis,signed by Captain Ronald Ram os and CBP Custom O ffk er.
    22.- W hen there is a duty to disclose,any statem entor afflrmative actof concealmentcan
  qualify as a çûtrick,scheme,ordevice,''including a reportorsubm ission thatom its key data in
  continue violation ofconstitutionalfederallaw,the Classitkation Law 46 U.S.C.j 3316,and
  Certifkation ofPollution Prevention Equipm ent46 CFR 162.050-7-Approvalprocedlzresand 46
  CFR 91.25-38PollutionPreventionandCaribbeanCargoShipSafetyCode(CCSC)forvesselless
  than 500 GT,equivalentto com pliance w ith sim ilarprovisions of46 CFR Subchapter 1.
    23.-The IOPP certiscate (CRGE:2)signed by thePlaintiffon behalfofUniversalShipping
  Bureau, contains accurate information as it was indicated the equipment installed onboard,
  (ExtrinsicFraud)USCG ApprovalCertlficateNo:162.050/1133/0 asitwasrequired in 46 CFR
  162.050-7.
         ''A copy of this certificate should be carried aboard a vessel tm ed with this
         equipm entata11tim es.The expiration date aboveisforU SCG approvalonly.The
         lM O certiscate oftype testdoes notexpire.''
     24.- The United States Constitution require thatcrim inal prosecutors be neutral,withouta
  personal,financialstakeinthec% esthey bring instead ofproviding false constructed evidence or
  false testim ony in order to falsely prove som eone guilty of a crime to obtain benetk.This
  prosecutionwasand continuetobelmconstitutional.Tllislawsuitseeksto (1)vacatea11criminal
  convictionsobtainedbythismaliciousfraudulentprosecutionCaseNo:10-60158-CR -W PD ,(2)
  to vindicate therightsofPanama Flag State Surveyor who have been criminally prosecuted for
  fraud upon thecourq (3)obtain the return ofal1tsnesand feespaid to hisdefense cotmselin
  connectionwithprosecutionsby thismaliciousprosecution,and(4)enjoinUSCG,lanagencyof
  Homeland Security ofUnited States)f' rom further tmconstitutionalprosecutionsto American
  Citizen,in cmsesin which Shipping Ownershasasnancialinterestand areliablefortheiractions.

    Parties
    25.-PlaintifllHugo Penaisan AmericanCitizennaturalized,bornin Cuba,acting asPanama
  Flag Surveyor,entrusted by aRecognized Organization tuniversalSllipping Blzreau,lnc.''in the
  inspectionoftçlslandExpressl''onbehalfofPanamaM aritimeAuthority(PM A)intheprocessof
  transferring trading certitkates from St Kitts & Nevis Adm .to Pannm a on April 27th,2010;
  com plete transfer w ms done on M ay 1ltb,2010.In his capacity as surveyor w ith A uthorization
  Letterand Instruction by the Recognized Organization,he wasfraudulentcriminally prosecuted
  for        OL V iolation,Certification & Inspection,CaseN o;10-60158-cr-W PD ,Count27 & 28.
  Thatprosecutionisthesubjectsofthislawsuit.
                                                                                                    vf
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     26.-Plaintif,HP M aritim e Consultnntisa DBA company own by Hugo Penw registered in
  FloridaState,DadeCounty,actuallyexpiredon12/31/2013becauseofthismaliciouslyfraud,(the
  plalntiffHugo Pena wasforbidding to do any work relate with M aritimeseld),indlctwith the
  intention to deceit the jury in a criminalcase,Case No: 10-60158-CR-W PD,withoutany
  relationship w1111theRecognized Organization in Panamw neitherrelationship with theinspection
  and certiGcation ofIsland Express1,neitherrelationship with G& G Com oration orany vessel.

     27.-Defendant,United StatesCoastGuard (District7)isan agency ofhomeland Security of
  the United States,m ay be served w ith cltation located at Com m ander U SCG Seventh D istrict
  BrickellPlnzn FederalBuilding 909 SE 1stA venue M iam i,FL 33131-3050.U SCG lnvestigator
  SpecialAgentGregBishopinchargeandsomeUSCG Offk ers,Aidan W aterbury,Leigh Cotterell,
  Keith M acklin were engaged in m aliciousfraudulentprosecution with G&G Com oration in the
  destruction offllndamentalevidence (Oi1W aterSeparatortfBilge Bof'lwith USCG Oi1W ater
  Separator Apgroval Certitkate, concealinFdesluctioifabdcating fraudulent statutory
  documentation ln continue violation ofconstitutionalfedel'allaw,46 CFR Subchapter1,46 CFR
  162.050and46U.S.C.j3316(c),todamagetheintegrity ofthePlaintifl-(PanamaFlagSurveyor
  HugoPenaandhisDBA company).
    28.-Defendnnt,G& G Corporation asG& G M arine lnc.,G& G Shippinglnc.,CoastalShipping
  Holding,Inc.,istheactualoffender,planting fraudulentduplicateIOPP certiflcate,destruction of
  fundnmentalevidence (OilW aterSeparator),and planting anew oneto damagetheintegrity of
  thePlaintiff(PannmaFlag SurveyorHugo Penaand hisDBA companylandmay beservedwith
  citation by serving itsregistered agent.

     Jurisdiction and Venue.

     29.-Thisisan action fordnmagespurslmntto 42 U.S.C.j 1983 and 1985 based upon the
  continuingviolationsofPlaintils'rightsundertheFourth,Fifth,Six and Fourteenth Am endments
  to theUnited StatesConstitution.

     30.-Jurisdiction existsplzrsuantto28 U.S.C.jj 1331and 1343 basedon 42U.S.C.jj 1983
  and 1985 and questionsoffederalconstitutionallaw .

     31.-Venue isproperin the Southern DistrictofFlorida in thatthe eventsand conductcom zpt
  andfraudtllentcomplainedofhereina11occurredintheSouthem DistrictofFloridw lcaseNo:10-
  6240 -Barry S Seltzer,Cmse N o:10-60189-CR-Cohn/Se1tzer,Case N o:10-60158-CR-W PD,Case
  No:18-60984-ClV-W PD).




                                                                                               /:o
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    FactualAlleeation

      32.-Thiscase presentsan issue oftlrstimpression in thisCourtand in thisCircuitand,to the
  bestofourknowledge in the country,asthe AppealCourtEleven Circuitacknowledge,resulted
  in continue violation ofUnited StatesFederalConstitutionalLaw,HFraud Upon the Court'',and
  theimpactto theNavalStlrveyorW orldwide,RecognizedOrganization and ClmssiGcation Society,
  due to the continue abuse againstForeign Flag SurveyorCommunity because negligence ofthe
  sllip's owners-operators in the operation oftheirequipm ent's,creating wrong liability in Flag
  stlrveyor,to create a wrong precedent,misleading the realissue ofincident,and planting new
  fabricate/counterfeit doclzm ents as it w ms in this case, due to conspiracy between G& G
  Com oration,USCG investigating oftk ers in District 7 M iami Office,United States Attorney
  Oftke in theSouthern DistrictofFloridaand DefenseAttorney G&G Corporation.

     33.-Thiscasearisesfrom aconspiracytopreyonp opleintheirmostvulnerablemomentsarld
  an eyegiousbetrayaloftrustby wolvesin awhlte collarcrime,violation ofUnited States
  ConstltutionalFederalLaw bytheAttorneyOmceintheSouthernDistrictofFloridw wheninfact
  itisknowingly byConstitutlonalFederalLaw,thatthePlaintiff(PanamaFlaj SurveyorHugo
  Pena)isnotallowmgtocertificateanypollutionpreventionequipmentinstalledlnIslandExpress,
  accordingtoConstitutionalFederalLaw 46USC 3316(c),ConstitutionalFederalRejulation46
  CFR 162.050becauseitshallbeUL Listed mark properlyinstalledandshallbecertlled by the
  USCG and the InternationalM aritime Organization (IMO),as actually itwmsand intentional
  omitted with intend to deceita Pity Jury in obstruction ofjustice,misleadingtherealissue ofa
  crim e.

        A . There is a cause to believe com plk ity betw een AU SA Jaim e R aith and U SCG
            InvestigatingOm cersDistrict7toprotectG&G Corporation l'
                                                                   rheO/enderlwith
            the intent to deceit and dam age Panam a Flag lnspector H ugo Pena and M s D BA
            com pany, Fraud upon the Court for M alicious Prosecution in V iolation of
            ConstitutionalFederalLaw,based on Extrinsie/IntrinsicFraud.Count27 & 28.

     34.-Purslmntto a Grand Jury Subpoena to G& G Corporation on June/luly 2010 working in
  concertin com plicity with someU SCG oY cersin m aliciousprosecution to fram eup thePanama
  Surveyor (The PlaintiftlHugo Pena and hisDBA company),planting fraudulentconstructed
  documentsmsaduplicated IOPP certifkate(CRGE:451llnknownand againstthePlaintiF with
  intention to deceita ûtpity Jury''in defamation ofcharacter,Libeland Slanderin afollowing case
  (CaseNo:10-60158-CR-W PD)becausetheclaimsareclearlytmfotmdedandfiledwithmalicious
  intentto punishand damagetheintegrityofHugoPena,who wmsactingasPanam aFlag lnspector
  on April27*,2010 occurred in PortLau Dania in the Southern DistrictofFlorida,authorized and
  instructed by a Recognized Organization in Panam a on behalf ofPanam a M aritim e A uthority in
  transferring certifkation from St.Kitts& N evisto Panama Flag asperrequestofG& G M arine,
  Inc.to UniversalShipping Bureau in Panamain avesselbuiltin Hollm w Louisianw United States
  attheend of1999 lm derCFR regulation and approvalofdrawing and designed,by theAm erica
  BtzreauofShipping(ABS),M V ttlslandExpress1''fullycomplywithMARPOL Annex 1.



                                                                                                    hP
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    35.-Bmsed on theseFederalConstitutionalLaw,Classification Law 46 U.S.C.: 3316 and 46
  CFR 162.050 Pollution Prevention Eauiom entCertilk ation ke.them aterialfactin evidenee.
  USCG Approval Certltk ate No: 162.050/1133/0,correspond to Provisional IOPP certifcate
  (CRGE:2) (a fundamental error concealed with intention to deceit) and previous trading
  certifkation St. Kitts& Nevisandreportofinspection forPrevention Pollutionby Oi1(CRDE:
  A),M /V ttlslandExpressl''fully compliedwithMARPOL Annex 1requirementforthistypeof
  ship and also,intentional concealed in complicity with USCG om cers,the new O1l Record
  Logbook providedbyPanamaConsulatein M iam ion April271,2010,incompliancewith 33CFR
  151.25.,andPanamaM aritimeAuthority(PM A)SEGUMAR Circular154.
     36.- U SCG investigator oftk ers in com plicity w ith G & G com oration, fabricated m alicious
  tmfounded opinion in Crim inal Complaint Case 10-6240-BSS page 5 paragraph 2, and the
  gravamenofconcealingthenew Oi1RecordLojbookfacilitatebytheParmmaConsulateinMiami
  to frnmeup thePlaintif,thatis,statutory constltutionalrequiremenq 33 CFR 151.25
    ''
             the ChiefEngineertried to operatethe Oi1W aterSeparatorbutappearedto be tmfnmiliar
         . . ..

           with it.TheUSCG inspectorthen realized thatitwmsinoperable''.

     37.-USCG specialagenthasknowingly thatthe Panam a Flag Surveyorhad notany relation
  shiftwith any crew m embersoftçlsland Express1'',and knowingly thenotice ofrecom mendation
  inthesurveyreportforpollutionpreventionbyoil,(CRDE:A)byUniversalShipping Bureaua11
  thetim eonboarduntilthenoticerecomm endation hasbeen complete.

     38.-The Governmentneverissued a Subpoena Duces Teclzm to theplaintiff(Pannma Flag
  lnspectorHugo Pena)fortheindic% entin question,counts27& 28,to investigatethoroughly,
  onlymadeaççconkolledtelephonecall''withoutconsentingparty,(thePlaintim ,withtheintention
  toframehim updaybeforehiskidnapped,butnothingcamefrom thatphonecall.Basedonlyon
  unfotmded speculatlon (CRDE.160:32-401,misleading therealissueofthe crime,leakageand
  dischargingseawaterentertoEngineRoom CoFerdam throughouttail-shaftseal,(04/15/20101.
     39.- O n June 10+,2010 at 06:00 mm .the Plaintiff w ms kidnapped/arrested at his house in
  violation ofUnited States Constitution in its Fourth Amendm entby a team ofU .S.M arshall
  comm andedby USCG SpecialAgentlnvestigatorGreg Bishop.

    40.-TheFederalConstitutionalClmssificationLaw 46U.S.C.j3316andPollutionPrevention
  Equipment46 CFR 162.050 and 46 CFR Subchapter l (Caribbean Cargo Ship safety Code),
  ConstitutionalFederalLaw andFederalRejulationwereviolatedandshallberespected,protected
  andenforced,everyoneissubjecttotheUmtedStatesConstitutionandtheRuleofLaw.




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        B. Thereisno causetobelievethatProvisionalIOPP CertifcateICRGE:ZIfoundby
           USCG CW O Keith M acklin wasaFalseStatementunder18 U.S.C.1001(a)(2.
           (Count28)based onReportofInspection Pollution Prevention byOiIICRDE:A1
            and USCG Certm cateofA pprovalPollution Equipm ent.
     41.-Since,there wmsconcealing in the trialcourt(CaseNo:10-60158-CR-W PD),one (1)
  fundamentalerrorin theprovisionalIOPP Certitkate (CRGE:Z)found by USCG CW O Keith
  M acklin in orderto identified the equipm entin the Form A ofthisIOPP certitk ate,thatis, the
  ApprovalCertifk ate of Oi1W ater Separator issue by the own USCG and installed on Rlsland
  Express l''a11the tim e placed on W allEngine Room and as itwas found in the USCG nnnual
  inspection on M ay 4*,2010 and also in previous USCG annual inspection years 2000-2009
  withoutany deficiency in the Oi1Pollution Prevention Equipm entinstallatiow contradictory as
  AUSA Jaime Raich fraudulentdeclaredto deceitthePity Juryattrial.

     42.- The Jury neither this Honorable Court (Case No: 10-60158-CR-W PD1 could have
  identiledtheacctlracy oftheequipmentin theProvisionalIOPP certiflcate(CRGE:2)fotmdby
  theUSCG,becauseAUSA Jaim eRaich concealedthisflmdam entalerrorinbad faithin com plicity
  with USCG SpecialAgent Greg Bishop,because G&G corporation concealed and deskoyed
  duringtheinvestigationJtme/luly2010inobstructionofjustice,fundamentalmaterialevidencein
  previoustrialcourt,asitwastheremoval/destruction ofBilgeBoy Oi1W aterSeparator,CaseNo.
  10-60189-cr-Cohn/Se1tzer,rnisleading therealissueofthecrime forintentto deceitthePity Jury
  and these H onorable Courts.

     43.- Extrinsic Fraud: USCG Approval Certitk ate No: 162.050/1133/0, correspond to
  ProvisionalIOPP certitkate(CR GE:2)and thisisquestion offederalconstitutionalIaw.46
  C FR 162.050.

     44.-ln som e situations,itis notsim ply w hatis said thatcreatesliability,butratherw hatls left
  unspoken. As a result, a statem ent can be considered false even when the actual facts
  com mlmicated are accurate because of m isrepresentation of the law ,              0L Annex 1,
  Certification andlnspection,i.e.Actto PreventPollution from Ships,33 U.S.C.jj 1901-1905
  (APPS), Pollution Prevention Equipment 46 CFR 162.050-7 - Approval procedures and
  Clmssiscation FederalConstitutionalLaw 46 U.S.C.j 3316,ifthe effectofthe statementasa
  wholeisto mislead investigators,inobstruction ofjusticewith anintention tocommitan illegal
  acttodeceit,damagingandframeupthePannmaflaginspector(ThePlaintiftlwhoyerformedhis
  duty,in defamation and the creation ofwrong liability to hisDBA com pany in m lsstatem entof
  the fact,with the gravam en,concealing/tampering flmdam entalerrorin bad faith to deceitthese
  HonorableCourts,asthe USCG Approved Oi1W aterSeparatorCertifkate,found by theUSCG
  CW O Keith M acklin on board ttlsland ExpressI''on M ay 4*,2010.

    45.-Theeffecttomisleadinvestigation inobstructionofjusticewmstheindisputablefalseand
  corrupted declarationby theUSCG Om cerAidan W aterburyin complicity with G& G Corporation
  inregardoftwo(2)portablesubmersible110v60l1zsumppumpswith25metersofhosefacilitate
  by G& G PortEngineer Ramon Durantfound by USCG CW O Keith M acklin induce by G& G
  Com oration whohadreached outtotheinvestigatorbecausethey becam eawarethatitsemployee
  wasbeing investigated.


                                                                                                   ##
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     46.-lnthesecircllmstances,thiscourtshallbereviewed theconvictionheld againsttheplaintiff
  P anamaFlag InspectorHugo Pena),because,also,itisfraud uponthecourtby anenforcement
  offk ial,fabricated by USCG Investigating Oftk ers in complicity with AUSA Jaim e Raich and
  G&G Com oration DefenseAttorney,in violation of46USC 3316 and 33U SC 1901-1905 and 46
  CFR 162.050in adefam ation ofcharacterwith thegravamen that,Flaglnspectorwasnotonboard
  on April151,2010, neitherheisa crew m ember,neithersailin thatvessel,neitherheistheowner
  ofthisvessel,neitherhad knowledgeoftheexistenceon board ofany portablesubm ersiblepump
  w1t11an intention toviolatethelaw,somethingthatcouldremove and withdraw atanytim eby the
  crew,neitherhad any relationsllip with G& G corm ration.

      47.- These portable subm ersible 110v 60 l1z sump pllmps were notpartof lsland Express
  equipm entapprovalasitwasindicated in the declaration by USCG CW O Keith M acklin atthe
  trial,itwastem porary solution by them :something thatthe crew and G& G com oration installed
  bythem selveson April15th,2010toavoldacom pulsoryem ergency dry-dockbottom exam ination
  becauseseawaterleakagecom ing from theocean and itcanbe on/offatany time in any navigable
  w ater,none Flag SurveyorneitherU SCG oo cercould controlit,THEY A RE N O ON BO ARD .
     lntentto com m ittheactthatconstitutesthe çrim e bv G& G Corporation.

     48.-OnApril15th 2010G&G postponethePanam alnspection,G&G PortEngineerauthorized
  by G&G Corporation ownersfacilitated two (2)submersible 110v 60 Hz sump pzmpswith 25
  m etersofhoseto discharge seawaterfrom thecofferdam inEngineRoom intheprocessto control
  theleakage.itwascomoulsorvforCaribbean Cargo Shio SafetyCode (46 CFR Charter11to an
  emergencydry-docktoproperlycheckandinspectthetail-shaftseal(outersideàthatwascausing
  theseawaterto enterthecoflkrdam in EngineRoom ,andshallbelmdersupervision byanapproval
  classsurveyorasreguiredthefederalconstimtional1aw 46USC 3316(c).
      49.- That was really G& G em ployee in their Y nefit, who comm itted the alleged crim e
  attem pting to com m lm icate wasthatGhe w ms an unw illing victim ofa bribery courtschem e''and
  asa result,hisstatem entsto the investigatorwere ttclearly false''. A Violation ofConstitutional
  Law 46 U.S.C.3316 (c) in complicity with USCG lnvestigatoroffcers participating in this
   investigation.

     50.-lngravnmenthePlaintiff(F1agInspector)wasavictim ofanon-consensualtelephonecall,
  PREVIOUS DAY TO HlS KIDNAPPED,by tllis G& G employee in the presence of USCG
  SpecialAgentGreg Bishop in an intentto fraudulentcriminalcom plaintin fraudulentbifurcation
  to M ARPOL Annex 1,(Certiscation & Inspectionj,whowassigned theindictmentagainstthe
  PlaintiffHugoPena,(CaseNo:10-6240-BaN SSeltzer),butitwasatrmshconversationin abuse
  ofprocess,denyingtheRuleofLaw,instead ofm eetand conferwiththevictim andthegravam en,
  thisUSCG SpecialAgentGreg Bishop kidnapped the Plaintifflearly on June 10th,2010 athis
  housewlthoutanywarrant,or,anyprobablecauseoranlintenttocommittheactthatconstitutea
   crime,in afraudulentarrest,amiscarriageofJustice,avlolationofUnitedStatesConstitution.
     51.-In obstruction ofjustlce,G&G Comoration intentionaldestroyed evidenceremoved the
   Oi1W aterSeparator,USCG ApprovalCertiscateNo:162.050/1133/0,correspond to Provisional
  IOPP certiflcate(CR GE:2)andconcealedthenew Oi1RecordLogbookprovidedbythePanama
  ConsulateinM iamionApril27*,2010,alsocorrespondtoProvisionalIOPPCert.(CRGE:Z).
                                                                                                     thf
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     52.- The plaintiff was incarcerated in Broward County,creating a deeply distressing and
  distm bing experience,blocking hism ind in hisdesperation.
     53.-U SCG hadknowingly that,onM ay 51 2010 theUSCG officerAidan W aterbury reviewed
  the USCG Form A signed by USCG CW O Keith M acklin and cleared deficiency of the IOPP
  certifkate (CRGE:Z)in theUSCG From A (CRDE-B)signedbythecaptain Ronald Ramonand
  USCG OftkerAidan W aterbury,overlookedby thisHonorableCourtlc&seNo:10-60158-CR-
  W PD),in contradiction of whatthisUSCG oftker Aidan W aterbury fraudulent and corrupt
  declared duringtheinvestigation,withoutany m aterialfactin evidenceto supportCount27 & 28.

    54.-ThisCourt(CaseNo:10-60158-CR-W PD)overlooked CriticalOmission:ThePlaintiff
  (HugoPena)wasnotsurveythevesselonApril15th,2010,thedaythecrimewasintenttoactand
  committed msperm aterialfactin evidence,ExtrinsicFraud,intentionalerrorofomission,em ailed
  senton April15*,2010 9om lsland Expressto G& G corporation,the ownerdecided to postpone
  the inspection forkansferring flag,the Oi1W aterSeparatorhasUSCG approved certitk ate,i.e.
  intentionalfundam entalerrorom itted,in violation offederalconstitutionalrule 46 CFR 162.050.

     55.- The Com plete lnspection of M ARPOL wms done on April 271, 2010,i.e.Reportof
  lnspectionPollutionPrevention by Oi1(CR DE:A)asperinstructionofhead om cein Parmmw
  ExrtrinsicFraud,based onthat,wasprovidedtheProvisionalIOPP Certificate(CRGE:Q .
     56.- The Plaintifffrom February 2010 to April 15Z,2010 w ms fulfilling other duty with other
  embarkationsmshisduty with hiscontractagreementwith theRecognized Organization.HE W AS
  N OT IN EtISLAND EXPRESS l''andhmsnoanyrelationship with them,otherth% thekansferring
  trading Certification from St.K itts& N evisto Pnnnm a Flag on A pril27*,2010.

     57.-So,thereisno doubttheProvisionalIOPP Certiticate(CRGE:Q found byUSCG CW O
  Keith M acklin on M ay 4+,2010wasatrueCertitk atebecausemeetstheprovisionsoftherelevant
  convention M ARPOL Annex 1and CFR,with which theparticularsofthe ship,itscrew and its
  equipm entcorrespondU SCG ApprovalCertitk ateNo:162.050/1133/0,and thiscourtshould have
  slzmmarizedaction inreversethiscount28,FalseOfficialStatementunder,18U.S.C.1001(a)(2.
        C. There isno causeto believe thatthe Plaintx had failure to condutta               OL
            survey onIslandExpress,April15tb,2010 under33U.S.C.1908(a),Count27.
     58.-Afterthe G& G VP M ike Grandonico postponedthe survey on April15*,2010,thevessel
  waskeptsailing with St.Kitts& NevisFullTerm Trading Certificatiol becausethe vesselfully
  complies with M ARPOL Annex 1 requirem ents,notwithstanding G& G knowingly the Chief
  Engineerhad notfam iliarwith the Oi1Pollutlon Prevention Equipm ent becausethe operational
  instruction m anualwmsm issing.

    59.-OnApril271,2010 theG&G ChiefOperation OG cer(CO0)Jim Hampel,schedule the
  complete inspection by Panama Surveyor, (the Plaintiftl, authorized by the Recognized
  Organization,who entrusted him the inspection with these undisputed facts,shown in the M V
  tçlsland Express1'' fotmd withoutany alteration in itsstructure,system and equipment'sms she
  wmsbuiltin Houmw Louisianw United States


                                                                                                    HtJ
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           a. There is undisputed and we agreed that Chief Engineer Eraso had not
           fam iliarization with theoi1pollutionprevention equipmentinstalled becauseofmissing
           instruction manualwhen thevesselwasinspected by the surveyorHugo Pena on April
           27*, 2010 as per em ailsentto Panam a head oftk e and USCG exam ination Form B
           signed by USCG CW O Keith M acklin on M ay 4*,2010.

           b. There is tmdisputed that the vessel has no any alteration and shows that the
           skucture,equipm ent,system s,tm ings,arrangem ent and m aterialofthe ship and the
           condition thereof are in a11respects satisfactory and thatthe ship com plies with the
           applicable requirem entsofA nnex lofthe M ARPOL Convention.

           c. There isundisputed thatthe vesselshowssufficientcapacity,m eansforretention
           and disposalofoi1residues(sludge)8.14cubicmeteri.e.moreth% 2000gallons.
           d. There is undisputed thatthe vessel shows discharge pipelines for residuesfrom
           m achinery bilges and from sludge tzmks, both lines fitted with stnndard discharge
           cormection as Regulation 13.

           e. There is undisputed that the Plaintiff (Hugo Pena) completes the reportof
           inspection Pollution Prevention by Oilon April27th,2010 asperPannma Head offke
           instructed,(CRDE:A).
           f. Thereisundisputed thatIsland Expresswasscheduled to lay up on M ay 31 ,2010,
           to correctdetkiency folmd by thePlaintiffon April27*,2010 (CRDE:A),because
           ChiefEngineerhad notfnm iliarization with the operation ofOi1W aterSeparator.

           g. There is tmdisputed thaton M ay 5*,2010 the ChiefEngineer Eraso had been
           trainedbyqualifedpersonnelinUnited Statesjurisdictionasitshallbeandrequiredby
           United SGtesLaw in 46 CFR 110.15-160.

     60.- On M ay 5th,2010 the Chief Engineer Er% o,testthe equipm ent exactly as itw as in the
  starting procedure in the instruction m anual, llling both Gravity Separator and Coalescing
  Housings,and a11inletplumbing with water.The testwas successful.Extrinsic Fraud,errorof
  omission,Record testing on M ay 5tb,2010,withhold by the Hugo Pena DefendantAttonley Jay
  W hite.

     61.-Thereisno doubtthePlaintiffprovided aCompletelnspection ofM ARPOL on April271,
  2010,(CRDE:A),asitwasaReportoflnspectionPollutionPrevention by Oi1asperinstruction
  ofhead om ce in Panama in his contractagreem entand thiscourtshould reverse this count27,
  FailuretoconductaM ARPOL survey,under33U.S.C.1908(a)
     62.-There is no doubtcomplicity between the G& G Com oration Defense Attorney,USCG
  investigating Offlcers District 7 M iam iand Attom ey Oftk e of Southem DistrictofFlorida in
  agreem entin m isleading the issue ofthe crim e,in obstruction ofJustice,as itwascompulsory
  emergency dry-docking bottom examination,ln continue putting in jeopardized the crew,the
  environmentandtbevesselflsland Express11inthismaliciousprosecutionagninstthePlaintiff.

                                                                                                   Sf
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        D. Thereisprobable eause to believe com plicity between AUSA Jaim eRaich,AUSA
           Laura ThomasRiveroand defenseAttorneyCoastalShippingHolding Inc.(LilIy
           Ann Sanchez)and USCG InvestigatorsOmeersIDistrict7,Miamilto yrotect
           G & G Corporatitm in thism aliciousfraudulentunfounded prosecution agam stthe
           PlaintiffIpanama Flag Surveyor Hugo Penalbased on Intrinsic and Extrinsic
           Fraud.

     63.-The AUSA Jaime Raich and the wolfpack were defending Sç-
                                                                rhe Offender''(G&G
  com oration afterthe Plea Agreement,docllm ent 17 Entered on FLSD Docket07/16/2010 Case
  No.10-60189-cr-COHN/SELTZER)taintedandcoauptdeclarationtoframeupthePanamaFlag
  lnspector and his DBA company (the Plaintiftl,in an act of corruptiol with a duplicate
  fraudulent/colmterfeitIOPP cero cate planting in a trial,where their mission isto enforce and
  defend the 1aw ofUnited StatesofA m erica,protectthe life atsea and the environm entto enforce
  the RuleofLaw with a11these tmdisputed m aterialfactsin evidence:

        a. It is undisputed that G&G corm ration are responsible of the planting
           fraudulent/counterfeitduplicateIOPP Certitlcate (CRGE:45)withdoctored signature
           and UniversalShipping Blzreau Stnm p ofinspectorPena in a photocopy machme     ' and
           w ith the gravam en ofcounterfeitsim ilar date A pril 15* ,2010 to conflictthe original
           IOPPcertificate(CRGE:Q ,tocreateacontlictintheinformationofrecordofequipment
           FORM A,with intention to deceitthishonorable courtand a Pity Jury,because G& G
           corporation installed a new different Oi1 W ater Separator, also concealed U SCG
           ApprovalCertiticateNo:162.050/9050 /0 foridentitk ation in the FORM A,installed
           afterkidnapped the Plaintiffon June 10+,2010 afterthe existing 0i1W ater Separator
           wasremoved/destroyed,alsowith USCG ApprovalCertiscateNo;162.050/1133/0and
           found by theUSCG CW O Keith M acklin,when in fact,itwmssuccessfully tested and
           approved in the A Sl inspection by Panam a M aritim e A uthority on M ay 11*,2010 ms
           per U SCG requirem entin FORM A M ay 4*,2010.

        b. lt is tmdisputed that G&G corporation is the owner's ttlsland Express l''and are
           responsible in the operation,m aintenance and recruitmentofitsem ployees and crew
           members.

        C. Itisundisguted thatthePlaintiF (Pannma Flag inspectorHugo Pena and hisDBA
           companyllsnotG&G employee,heisnottheowner'slslandExpress,neithermember
           ofitscrew asnegligently theUnited StatesindictthePlaintil inacriminalCaseNo:
           10-60158 -CR -W PD m th crew 'smem berofIsland Express, CaptainRonald Ram on
           and ChiefEngineerNorthon Ermso withoutany relationship with them ,creating false
           crimes ofstrictliability for which responsibillty is lmposed wlthout considering the
           scope of authorization /inspection instruction,violating contractualagreem ent with
           Recognized Organization by the Pannm a M aritime Authority and knowledge ofthe
           defehdant (Pannma flag lnspector Hugo Peha), in gravnmen USCG maliciously
           intem zptingthe flag lnspection processon M ay 4th,2010.




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        d. ItisundisputedthatthePlaintiF (PanamaFlag inspectorHugoPena)neitherany Flag
            Surveyor,neitherany USCG inspectorsare responsible forthe wrong action oflsland
            Express crew's and G& G employee's, because of the Criminal N egligence and
            RecklessnessofG&G Com oration.

        e. G&G corm ration facilitate the Ultimate W eapon to comm itthe Suspicion CRIM E,to
           avoid com pulsory emergency dry-dock bottom inspection to fix the tail-shaft seal
           leakage,outer side,instead by providing portable subm ersible pllmps with 25 feet's
           hoseson Aprll151,2010,discharging seawaterleakageto theocean instead oflegally
           discharge this water to a reception facilltate in Brow ard County as itw as required by
           the United States Law ,w hen they w ere tem porary fixing the leakage ofseaw ater,only
            theinside(Cofferdam),thisjob wasnotapprovedby any Classifkation Surveyor(46
            USC 336(c)1inmaliciouslybifurcationtheissuetoM ARPOL Annex 1,lnspection&
            Certitk ation,insteadofviolation,46CFR Subchapterl(CaribbeanCargo Ship Safety
            Code)emergencybottom Dry-Dockexamination.
     64.-A11wolfpack,AUSA Jaime Raich and Defense Attorney G&G Com oration and USCG
  investigators Offkers,are complicity in the intentionalom ission ofthis flmdam entalerror to
  damagetheintegrityofthePlaintiff,(PanamaFlagSurveyorHugoPenaandhisDBA company),
  whoisnotan approvedclasssurveyorasrequired46U.S.C.3316(c)andwasnoinplacewhere
  the alleged crim e w mscom m itted on A pril 15*,2010.

     65.-A stateofmindtocommitacrime.G&G Comoration,theseawaterleakajewasbyboth
  M ain Engine'sShaftalso known asTail-shaftsealsand comingfrom theoceanand1tscom pulsory
  a dry-dock emergency bottom exnm ination to fix the outerseal,required the supervision of an
  approvalcl%ssurveyorasFederalConstitutionalLaw 46U.S.C.3316(c)totsxunderwaterissue.
       EmailTranscript.(ExtrinsicFraud)
       Thursday,April15th,2010,07:13 A.M .:ISX :PortEngineerto have ready on arrival
       the bearing forboth M ain Engine's Shafq and two submersible 110v 60 Hz sllmp
       pumpswith 25 metersofhose,too much waterinbilges,Ch.Engineer.

     66.- ln answ ered to the G& G agency ofthis e-m ail,intentional om itted and no shown atthe
  trial,case No;10-60180-cr-W PD,the G&G maintenance directorsubjectsto the ownerG&G
  M arine not involving the Panama surveyor because cloud the issue, because it requires an
  em ergency bottom dry-dock inspection,the lastinm ection wasdoneon September2008.

     67.-lntentexist.
                    swhen theillegalactmay remsonably beexpected to follow from an oflknder's
  voluntaryact,evenwithoutany specitk intentbytheoffender(G&G Corporation).
       Thursday,Aprll151:,201% 09:42 hrs.M aintenanceDiredor(M lchaelBader)to
       M ike G randonieo: Ram on and 1are aware ofthis.W e scheduled to repairpacking
       on arrival.1need to work wlth Ramon and 1only;Hugo and Latlra only cloud the
       issue.



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     68.-On April15*,2010 around 19:00 hours,asitwasindicated in the EngineLogbook atthis
  day (CRGE:24)thetimeofdeparture.Theissueofseawaterleakagefrom theoceantotheengine
  room cofferdnm weretem porarvrlxed on Anril15*.2e10,only insideseal,withoutany approval
   classsurveyorasrequiredFederalConstitutionalLaw 46U.S.C.3316(c).
         E. Therewasa phvsicalaction.adus reus.and a state ofm ind to com m ita crim e bv
            G & G Corporation.on April15 .z0lo.thereiscauseto believe.seawaterleak w as
            disehareed to the ocean l stead to discharee Ieeallv in an alm roved Facilitv in
            Broward Counw .this iob was not alm rovalbv anv dass sun evor accordine to
            constitutional Iaw 46 U .S.C. 3316 fc ) and done w ithout com m unication to the
            C aptain of the Port in Port Everelades and w ithout record in the 0 11 R ecord
            Loebook under St.K itts& Nevisadm inistration.

     69.- Here is the exactdescription and signed by the Chief EngineerNorthon Eraso on this
   undisputablefactoverlooked inlslandExpress'Enginelogbook,(CRGE:241,(CRDE.160:101-
   1041:
        distop M ain Enginesat 14:30 and dock in D ania 15:00 to 19:30,PortEngineer -O iler
        and ChiefEngineerrepacking 5 sealsto stuffing box (Main Shaftfrom PortM ain
        Engine)testing ahead & astern-very good job 20:45 startboth engines& depart
        Dania''/s/by Northon Eraso

     70.-Thedetk iencynoticebyUSCG KeithM acklin,onM ay4d',2010(ExtrinsicFraud)FORM
   B USCG Reportdid not indicate any malflmction of the Oi1 W ater Separator as fraudtllent
   constructed and established in trialcourt;ThisisM aterialfactin evidence,M acklin handwrote:

        Ef hiefEngineerfailed to testthe Oi1W aterSeparatorbecausehad notfnmiliarwith
        theprocedure oftesting because ofmissing the instruction m anual''.

      71.-ItwmsjustanexcuseandaRecklessnessbytheChiefEngineer,(knowinglywhattheyhad
   beendone),withtheUSCG CW O KeithMacklin,thevideorecordofOi1W aterSeparatoronM ay
   5+, 2010 indicated that this Pollution Prevention Equipment installation never had been
   m alfunction AS NEITHER INDICATED IN ANY previousUSCG AnnualExam ination Report
   in years2000-2009.

      72.-In a state ofm ind to com mita crim e,G& G Corporation concealed the new Panam a Oil
   Record Loebook.facilitate bv the Consulate ofPannm a in M inm ion Aoril27*.2010 asit
   wasrequired by Panama M aritime Authority in SegumarCircular 154,the cause ofaction in this
   fraudulentindictmentforfailed to maintained accurate inform ation intheOi1Record Logbook,in
   com plicity with AUSA Jaim e Rnich and USCG SpecialAgentGreg Bishop,on Jtme 151,2010
   withCotmt1,ConsjiracyinfailingtokeepAcc= teofOi1RecordLogbook,usingintrialcourt,
   previousFlagAdm mis% tion,Honduras/st.Kitts& N evisin complicity withUSCG investigators
   to dam age the integrity ofthe Plaintif,Panama Flag SurveyorHugo Penw who had no relation-
   shiftwith these o1d Oi1Record Logbook.




                                                                                                  At
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     73.-lntheGravamen thenew PanamaOi1RecordLogbook wmsinpossessionofUSCG District
  7,M iamiOm cein conspiracy with AUSA,forobstruction ofjustice asitwasindicated in the
  (ExtrinsicFraud)ASllnspectlon ReportbyPanamaM aritimeAuthorityonM ay 1ltll,2010,andit
  wasintentionallyconcealed todamagetheintegrity ofFlagInspectorHugoPenw (ThePlaintim .
        F. G& G.StrictIiabilitv erim e

     74.-G&G had two (2)sistervesselmore,with similarOi1W aterSeparatorinstalled,oneof
  them IM/V Caribbean Express 1)in the Plea ofAveementand Kame instruction manualfor
  operation,they neglected to copy one and instructthe new ChiefEngineeras shallbe required
  when ChiefEngineerNorthon Ermso wmsenrolled in lsland Expresson February 7th,2010.

     75.-G&G facilitatethetwo(2)portablesubmersiblepumptoavoid acompulsoryEmergency
  Bottom Dry-D ock exam ination w ith the intention to com m itan illegalactin Brow ard County and
  in an Ad usReus,knowingly on April15Z,2010by G& G Corporation throughoutPortEngineer
  Ramon Dtzran,instead to schedule to discharge the seawater leakage in an approve facility in
  Broward County asshallberequiring by thelaw,orin emergency situation,comm unication with
  Captain ofthe Portin PortEvergladesand Record itin theOi1Record Logbook undertheactual
  tlag administration (St.Kitts& Nevis).
     76.-In obstruction ofjustice,G&G created a false liability to the Plaintiff lpanama Flag
  lnspectorlwith thefraudulent/cotmterfeitduplicateIOPP certificate (CRGE-451constructed by
  them in com plicity w ith A U SA Jaim e Raich and D efense A ttorney Lilly A nn Sanchez creating a
  contlict in the accurate identiscation of Pollution Prevention Equipm ent with a Pity Jury to
  prosecutethevictim in violation ofUnited StatesConstitution,undertheFourth,Fifth Six and
  Fourteenth A m endm entsin denying the Rule of Law .

     77.-ln obstruction ofjusticeAUSA JaimeRaich in complicitywithDefenseAttorney (G&G
  Comoration)LillyAnn SanchezandG&G CorporationandUSCG investigatingoffkercreateda
  false liability to the Plaintifr Panama Flag Inspectorl in the Certifkation of the Oi1W ater
  Separator,wheninfactPollutionPreventionEquipmentwascertifiedbytheownUSCG asitwms
  required by the1aw in 46 CFR 162.050 and in gravam en concealed thisfundam entalmatedalin
  evidenceattrial(EXTRINSIC FRAUD)to identify in therecord ofequipmentFORM A inthe
  IOPP certitkate(CRGE-Z)and(CRGE-45).
     78.-G&G neverperformed a safety em ergency and m andatory dry-dock bottom exnm ination
  to tlxtail-shaftseal,outerside,causeofactionthesuspected crime,theseawaterleakage,(cause
  ofdetention becauseofthe portable submersiblepumpsfotmd by USCG officersKeith M acklin
  in suspicionofoilpollutionl,incontinueviolationoftheClassification Law,i.e.aConstitutional
  FederalLaw 46U.S.C.j3316,evenincontinueviolationthenextmandatorydry-dockingbottom
  lnspection dtlring probation,due on February 2011,in continue denying the Rule of Law,in
  conspiracy and complicity with USCG District 7 M inm i oftk e,cotmterfeitthe last drp dock
  inspection report and continue putting at risk it's crew, M /V Stlsland Express l'' and the
  environment,inm isleadingtherealissueofthecrime,CaribbeanCargoShip Safety Code,46 CFR
  Subchapter1,a ConstimtionalFederallaw.



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     79.-This is further proofofwhy the ships som etimes sink,concealing the realissue ofthe
  crim e,corruption and conspiracy atthehigh levelin United StatesJustice System in theAttorney
  Offke ofSouthern DistrictofFlorida in complicity with USCG investigating Offkersin District
  7 M inmiOffke,putting atrisk thelife oftheircrew atsew the environmentforthe sim ple remson
  of sustaining a fraud,maliciously fabricated in complicity with a corruptcomoration (G&G
  Comoration),inviolationofconstitutionalfederal1aw ofUnitedStatesofAmerica.
        G .INJURIES TO PLM NTIFF-PETITIONER

     80.- M r.Hugo Pena and his DBA company,hms been injmed becalzse this maliclously
  fraudulentindictmentindoublejeopardizing,hewmsrequiredtopay$85,500.00infeestopayfor
  the costofhisown defense attom eysduring hisflveyearsofcontinuesfighting forhisinnocence
  and right,forhisunconstitutionalprosecution,he wmsthreatby the AUSA Jaim e Raich,asking
  with hateform orednm age,to getfraudulentincarceration agninstthe Plaintiff

     81.-M.
          r.Hugo Penahmsbeen injuredbecausehewmsrequiredtopay $200.00in finesforhis
  unconstitutionalconviction.

     82.-MT.Hugo Pena has been injured because he has been subjected to the shnme and
  embarrassm entofthe criminalprocess,including kidnapping in hisown house withoutissuance
  ofan arrestwarrant,withoutan arraignm entmincarceration and acrim inalconviction,a11ofwhich
  w msthe resultofan unconstitutionalprocess.

     83.-Mr.Hugo Penahasbeen injuredbecausehewasrequiredtopay tlve(5)yearsand ahalf
  in probation,included six (6)month housearrest,losthisDBA company,a11ofwhich wasthe
  result of an unconstitutional prosecution for hijacking of docllmenGtion, destruction of
  fundam entalevidence and fabricating/falsification of statutory doclzm ents by G & G Corporation
  in com plicity w ith som e U SCG investigating ofscers and com plicity with A U SA Jaim e Raich.

    84.-MT.Hugo Penahasthe continuing injury ofacriminalconviction,losing hisown home
  and hiscar,damaging hisfnmily,forbidding any maritime relatejob during probation,thing
  Plaintiffwasdoing a11hisentirelife asamaritimeprofessional.

     85.-M r.Hugo Penacontinuestofearthathewillbesubjectedtofurtherdiscrimination to get
  anyjobandinanymaritimejobbecauseofthistmconstitutionalprosecutionandcontinuedenying
  hisTW IC card,losing paid fees,resulted ofaban by theU SCG forthistmconstitutionalprocess,
  losinghisactualjob,thatis,acontinuediscrimination (EEOQ andlosingjobs.




                                                                                                     ïzk
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     CO UNT 1.

     Violations of Due Process Clause of the United States Constitution. Fourteenth
  A m endm ent

     Plaintiff-petitionerincorporatesby referencea11pxviousparagraphs(1to 85)ofthispleading
  forcontinueviolation ofConstitutionalFederalLaw 46 CFR Subchapter1,46 CFR 162.050 and
  46 U.S.C.j3316inthismaliciousprosecutionCaseNo:10-60158-cr-W PD,no oneisabovethe
  law .

     The D ue Process Clause ofthe Fourteenth Am endm entto the U .S.Constitution requiresthat
  criminalprosecutorsbeneutraland objective.Theplaintif wmsdeniedmeeting and conferwith
  AssistanceU .S.Attorney and the USCG investigating ofGcerin charge,creating afalseliability
  tothePlaintiff(PanamaFlagInspector)intheCertitkation oftheOi1W aterSeparator,when in
  factPollutionPreventionEquipmentwascertifledbytheownUSCG asitwasrequiredbythelaw
  in 46 CFR 162.050.ltistm dlsputed Eçlsland Express1''com plied w ith a1lrequirem entofM ARPOL
  Annex 1asitwasrequired by theUnited StatesLaw.

     M akine eollapse U nited States C onstitutionalFederalLaw ,m isleading the realcause of
  action ofthecrim eby G& G Com oration,leakageand discharging ofseawaterfrom EngineRoom
  Cofferdam ,and avoiding mandatory drp docking bottom inspection.

    TheAUSA JaimeRaich pervertingthecotlrseofjustice,in obstruction ofjustice,acomplete
  miscarriage ofjustice,used fabricating evidence,ttfalseCertificate''(CRGE:45)constructed by
  G&G coyoration(TheOffender)withoutanyintendtoauthenticatedthedocument,lmknownby
  the Plaintlffto contactpotentialw itnessesasG overnm entExpertJnm esD olan,paying him up rate
  of$325.00perhotm whohadneverbeenintheRlslandExpress1''thatis,theylaceandmatterof
  the offense,w ith an intentto the system ofchecks and balances collapses and lntentto deceitthe
  içpity Jury''and damage the integrity ofPanama Flag Stlrveyorand hisDBA company,(the
  Plaintiftl, morepunished to hisfnmily,defnmation,afraud upon theCoutt inavesselbuiltin
  United StatestmderregulationofClassiication Law 46USC 3316and CodeofFederalRegulation
  withoutany record ofany alteration in the equipmentprevention pollution by oi1and thisGov.
  Expertpurportedto bea retired classinspectorforAm erican Btlreau ofShipplng on about1992,
  where a11equipment's in the lsland Express were certitk ate by the own Am erican Btlreau of
  Shipping and USCG on 1999,included the scapegoat,0i1W aterSeparatorasitwmsindicated in
  thelnternationalOi1Pollution Prevention Certiscate CRGE:2 and intentionalwithhold aCritical
  Om ission to deceita Pity Jury,attached to IOPP cert.,Extrinsic Fraud e.g.United StatesCoast
  Guard ApprovalOiIW aterSeparaterCertm cateNo:162.050/1133/0.

     It is a violation of the Due Process Clause for violation of constltutional federal 1aw to
  premeditatednmageaUnited StatesCitizen (ThePlaintiftl,avictim,by acriminalprosecutorto
  have a personal,financial stake in the cases they prosecute, (C%e No: 10-60189 - CR -
  Cohn/seltzer),raisingseriousconstimtionalquestions.




                                                                                                    #î
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     A11personsbornornaturalized intheUnited States,and subjecttothejurisdictionthereof,are
  citizensoftheUnited Statesand ofthe Sutewherein they reside.N o State shallmake orenforce
  any 1aw which shallabridgetheprivilegesorimm unitiesofcitizensoftheUnited SGtes;norshall
  any State deprive any person oflife,liberty,orproperty,withoutdue processoflaw;nordeny to
  anyperson within itsjurisdictiontheequalprotection ofthelaws.
     COUNT 2

     FalseA rrestine in ViolationsofFourth Am endm entoftheUnited StatesCtm stitution

     Plaintiff-petitionerincorporatesby referencea11previousparagraphs(1to85)ofthispleading
  forcontinue violation ofConstitutionalFederalLaw 46 CFR Subchapter1,46 CFR 162.050 and
  46 U.S.C.j3316 inthemaliciousprosecutionCaseNo:10-60158-cr-W PD,no oneisabovethe
  law .

     On June 10*,2010at06:00 a.m .thePlaintifrw% kidnapped/arrested in hishouseby ateam of
  U .S.M arshallcomm anded byU SCG SpecialAgentGreg Bishop withoutanywarrantand without
  probably cause and incarcerate him ,fraudulentalleged thatthe Plaintiffwason April15tb,2010
  in Island Express(CaseNo:10-6240-Barry S Seltzerl,when in factand intrue,USCG Special
  Agentwasknowingly thattheownerG&G com oration postpone the startkansferring St.Kitts&
  N evistrading Certification to Panam a on A pril271,2010,com pleted on M ay 111,2010 to avoid
  an emergency dry-dock bottom inspection to perm anent fix the entrance of seawater to the
  cofferdam ofEngineRoom .ThePlaintiF wasno onboard on April15*,2010.

     Extrinsic Fraud,Eaor ofOmission:VesselClearance of Statem entby Custom s of Border
  Protection (asUSCG.aIso an AeencvofHom eland SecuritvoftheUnited States)on April15th,
  2010 indicated thatM /V Stlsland Express1''carrierthetlag St.Kitts& Nevis,signed by Captain
  Ronald Ram osand Custom Oftk er.

     COUNT 3

      False indictm ent involves the Fifth Am endm ent of the United States Constitution in
  V iolation ofC onstitutionalFederalLaw .

     Plaintiff-petitionerincoToratesbyreferenceal1previousparagraphs(1-851ofthispleadingfor
  continue violation of ConstltutionalFederalLaw 46 CFR Subchapter 1,46 CFR 162.050 and 46
  U.S.C.j3316inthemaliciousprosecutionCaseNo:10-60158-cr-W PD,nooneisabovethelaw.
    PlzrsuanttoaGrandJury SubpoenatoG&G Corporation(TheOflknder)onJune/luly2010and
  workingin concertin complicitywith someUSCG oflcers,in obstructionofjustice,intentional
  planting fraudulentduplicate IOPP certificateCRGE-45 in trialcourtwith same day asCRGE-Z
  IOPP Certitk atefound by USCG CW O Keith M acklin withoutknowledgeofthisduplicateIOPP
  certifk ateby thePlaintiffto framehim up in maliciousprosecution,noneUSCG ofscerfoundthis
  duplicate fraudulentcertifk ate onboard Island Express on M ay 4*,2010,with the gravam en,
  om ission offundam entalerror,USCG Oi1W aterSeparatorApprovalCertificate to damage the
  integrity ofthe Plaintiftl (Panama Flag Surveyor Hugo Pena),who isnotan approved class

                                                                                                  *
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  surveyorasrequired46U.S.C.3316(c)and knowingly thatthePlaintiffwisnoinplacewhere
  the alleged crime was comm itted on April 15*, 2010 with the gravam en of unfotmded
  m isrepresentation ofthe 1aw and unfounded eventofpollutiow in declaration by AUSA Jaime
  RaichandAUSA LattraThomasRivero alsoin AppealCourt11Circui: when infact,fundamental
  errorom ission,Extrinsic Fraud i.e.OilW aterSeparatorhœsa Certitk ate ofApprovalby U SCG,
  so it is an adequate equlpment in compliance with M ARPOL Rules, Pollution Prevention
  Equipm ent46 CFR 162.050-7 -Approvalprocedures,M /V lsland Express fully comply with
  M ARPOL Rulesin Annex 1.

     Indeed,by this fundnm entalintentionalerror om ission and planting fraudtzlentduplicate IOPP
  certificate,m aking collapse United States ConstitutionalFederallaw,thatthiswasprecisely the
  theory on whichthisPity Jury convictandtheEleven CircuitAppealcourtsam rm ed.

     Underthe Actof Production Doctrine,the act ofan individualin producing docum ents or
  materials(e.g.,inresponseto a subpoena)may havea ''testimonialmspect''forpurposesofthe
  individllnl'srightto assertthe Fifth Am endmentprivilege againstself-incrim ination to theextent
  that the individual's act of production provides inform ation not already in the hands of 1aw
  enforcementpersonnelaboutthe(1)existence;(2)custody;or(3)authenticity,ofthedocllments
  or m aterialsproduced.See U nited Statesv.Hubbell.ln Boyd v.U nited States,the U .S.Suprem e
  Courtstatedthat''ltisequivalenttoacompulsoryproduction ofpapersto makethenonproduction
  ofthem aconfession oftheallegationswhich itispretended they willprove''.

     ln tM scaseG&G Corporation producefraudulentdocum entsand materialsasaduplicateIOPP
  certifkate ICRGE:45)forgerythesignatureofPlaintiffwheretheauthenticity cnnnotbeproved
  and in gravamen conceal a fundament error of om ission,Oi1 W ater Separator Certificate of
  Approvalby USCG to authenticatethecertifkatethey had forged and also concealed thenew Oi1
  Record Logbook facilitate by Panam a Constllate in M iam i.

     The Fifth am endm entcontainsseveralprovisions,fottrelem entsprotectaperson accused ofa
  crime:the rightagainstcompelled self-incrimination,the rightto a grand jury,the rightof
  protection againstdoubleJeopardy andtherightto dueprocess,a11theseelementswereviolated
  againstthe Plaintiffbecause ofmaliciousfraudulentcrim inalconviction,Case No:10-60158-cr-
  W PD

     ThePlaintiffripped ofl-theband-aidcovering upan infected,festeringwotmdwithin olzrJustice
  System thatneeds to be fully exposed to the lightofday to healand we willnotstand forthe
  corruption any longer.

     Thisisan incredibleabuseofpoweragainsttheITLM NTIFF''a simple UnitesStatesCitizen
  demaging hisfam ily,with alloftheseintentionalomissions,m isleading therealcrim e,seawater
  leakage by thetail-shaftseal,and negligentdischarged back to the ocean,to avoid a compulsory
  Dry-Dock bottom examination,in continue putting at risk the life of their crew at sea, the
  environm ent and their own vessel Klsland Express 1'',using falsiscation and m anlpulation /
  planting offactsin a criminaljudicialprocessesby theUSCG investigating om cersin Seventh
  DistrictofFlorida,M inmiOftkewithcomplicityby acorruptG&G Corporation (TheOffender)
  and the Attorney Oftk eofSouthern DistrictofFlorida in a fraudulentcase 10-60158-CR-W PD .
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          H. PRAYER AND REOUEST FOR RELIEF

     Forthereasonsstated above,Hugo Pena(thePlaintim appearing Pro SeunderRule 60 (b)
  respectfully requeststhatthisHonorable Court:

     a) ProvidePlaintiffan opportunityto presenta11Extrinsic Fraud,i.e.FundnmentalM aterial
          Factin evidence intentionalconcealing in Cmse No:10-60158-CR-W PD to deceita Pity
          Jury,in this law suitasrequire by the law .

     b) Grantsuchotherand furtherreliefasjusticemayrequire.;
     Forthe foregoing remsons,Plaintiffrequest thatupon finaltrialor other disposition ofthis
  lawsuit,Plaintif hasandagainstDefendantsjointlyandseverally forthefollowing:
              Forcompensatory and ptmitivedamagesin am ountsto bedeterm ined by theCourt
              and/orjury;
         ii. Forpre-judgmentinterestona11amotmtsawardedtothefullexrtentallowedby law;
         iii. ForinjunctivereliefaspleadedorastheCourtmay deem proper;and
              Exem plary dam ages;and

              Foran Orderawarding Plaintiff,theirreasonable attom eys'feesand expensesto the
              fullextentallowed by law.

     Under FederalRule of CivilProcedure 11,by signing below,l certify to the best of my
  knowledge,information andbeliefthatthiscomplaint:(1)isnotbeingpresentedforanimproper
  purpose,such asto harass,cause Ilnnecessary delay,orneedlessly increasethe costoflitigation;
  (2) is supported by existing 1aw orby a nonfrivolousargumentforextending,modifying or
  reversing existinglaw;(3)thefacmalcontentionshaveevidentiary supportor,ifspecitkally so
  identified, will likely have evidentiary support after a reasonable opportunity for further
  investigationordiscovery;and(4)thecomplaintotherwisecomplieswiththerequirementsofRule
   11,


                                                  Respectfully Subm itted;
                                                         *   y
                                                             P'



                                                  Hugo Pena
                                                  943 N .W .97+ A ve, A pt204
                                                  M iam i,FL 33172
                                                  Email:hpenaol@yahoo.com
                                                  V ictim Pro Se
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                               CERTIFICATE OF SERW CE

        1,HEREBY CERTIFY that a true and correct copy of the forgoing parties hms been
       furnished by mailon this             2018 to:

        United StatesDistrictCourt          Comm anderU SCG Seventh District
        Southern DistrictofFlorida          BrickellPlnzx FederalBuilding
        OftkeoftheClerk Room 8N09           909 SE 1StA venue
        400 N orth M inm iAvenue            M iam i,FL 33131-3050
        M iam i,Florida 33128-7716

        United StatesA ttorney's Om ce      G& G Shipping LLC,
        Southern DistrictofFlorida          G& G M arine,lnc,
        99 N .E.4* Skeet                    CoastalShipping Holding,lnc.
        M iami,Florida33132
                                            Registered A gency:Arie A Taycan
                                            7880 N .University D r.Suite 201
                                            Tam arac,FL 33321

                                            Registered A gency:A dan J.Steinberg
                                            200 S.A ndrew sAvenue,Suite 903
                                            Ft.Lauderdale,FL 33301




                                          Respectfully subm itted;


                                               4 ç.
                                                .
                                                    -
                                                        -
                                                        -


                                              Hugo Pena
                                              943 N W 97 A ve.Apt204
                                              M iam i,FL 33172
                                              Email:hpenaol@ yahoo.com
                                              V ictim Pro Se
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